






NO. 07-06-0438-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL C



NOVEMBER 15, 2006


______________________________



IN RE MICHAEL LOU GARRETT, RELATOR


_______________________________




Before QUINN, C.J., and HANCOCK AND PIRTLE, JJ.

MEMORANDUM OPINION


	Relator, Michael Lou Garrett, has filed a Petition for Writ of Mandamus requesting
this court order respondents, "Debbie Liles, Kelli Ward, Jamie L. Baker and their agents[,]
E.C. Williams (Warden, Allred Unit)[,] and F.L. Haynes (Access to Courts
Coordinator/Indigent Supplies Supervisor, Allred Unit)[,] to immediately refrain from
depriving relator, an indigent prisoner, of indigent supplies needed and necessary for
processing the matter of this appeal."  We dismiss for want of jurisdiction.

	A court of appeals has authority to issue writs of mandamus against district and
county court judges within the court of appeals's district and all writs necessary to enforce
its jurisdiction.  Tex. Gov't Code Ann. § 22.221(a), (b) (Vernon 2004).  As none of the
named respondents are identified as judges, they are not within our jurisdictional reach and
we have no authority to issue a writ of mandamus against the respondents absent a
showing that issuance of the writ is necessary to enforce our jurisdiction.  In re Cummins,
2004 WL 1948048, at *1 (Tex.App.-Amarillo 2004, orig. proceeding) (mem. op.); In re
Coronado, 980 S.W.2d 691, 692 (Tex.App.-San Antonio 1998, orig. proceeding).  While
relator concludes that mandamus relief is necessary to enforce this court's jurisdiction, he
fails to show how the writ is necessary to the exercise of our jurisdiction over the underlying
appeal.  Consequently, we have no authority to grant relator the relief he requests.

	Accordingly, the petition for writ of mandamus is dismissed for want of jurisdiction.



							Mackey K. Hancock

							        Justice






&gt;
   
  









NO. 07-09-0291-CR

NO. 07-09-0292-CR

&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL C

&nbsp;

&nbsp;SEPTEMBER 9, 2010



&nbsp;

&nbsp;



&nbsp;

&nbsp;

VICTOR JOE CORTEZ, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



&nbsp;

&nbsp;



&nbsp;

&nbsp;FROM THE 47TH DISTRICT
COURT OF POTTER COUNTY;

&nbsp;

NOS. 58,786-A, 58,787-A; HONORABLE HAL MINER, JUDGE



&nbsp;

&nbsp;



&nbsp;

Before CAMPBELL and HANCOCK and PIRTLE,
JJ.

&nbsp;

&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant, Victor
Joe Cortez, was convicted by a jury of three counts of aggravated sexual
assault of a child and one count of indecency with a child by sexual contact enhanced
by a prior conviction for the felony offense of indecency with a child.[1]&nbsp; He was sentenced to confinement for three
consecutive life sentences and one concurrent life sentence.&nbsp; In presenting his appeal, counsel has filed
an Anders[2]
brief in support of a motion to withdraw.&nbsp;
We grant counsel's motion and affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In support of her motion to
withdraw, counsel certifies she has conducted a conscientious examination of
the record and, in her opinion, the record reflects no potentially plausible
basis to support an appeal.&nbsp; Anders v. California, 386
U.S. 738, 744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967); In re Schulman, 252 S.W.3d 403, 406 (Tex.Crim.App. 2008).&nbsp; Counsel candidly discusses why, under the
controlling authorities, the appeal is frivolous.&nbsp; See High
v. State, 573 S.W.2d 807, 813 (Tex.Crim.App. 1978).&nbsp; Counsel has also demonstrated that she has
complied with the requirements of Anders
and In re Schulman by (1) providing a
copy of the brief to Appellant, (2) notifying him of his right to file a pro se response if he desired to do so,
and (3) informing him of his right to file a pro se petition for discretionary review.&nbsp; In re Schulman, 252 S.W.3d at 408.[3]&nbsp; No response was filed by the State.&nbsp; Appellant filed a pro se response to counsel's brief.[4]&nbsp; &nbsp;&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By his Anders brief, counsel raises three arguable issues:&nbsp; (1) whether the trial court erred by ordering
three of Appellant's life sentences to run consecutively, (2) whether
Appellant's punishment was properly enhanced to automatic life, despite the
State's use of the same prior conviction to enhance two separate offenses, and
(3) whether the evidence was both legally and factually sufficient to support
Appellant's conviction.&nbsp; Counsel then candidly
reviews each arguable issue and explains why no reversible error is presented.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Where we have an Anders brief by counsel and a pro se response, we have two
choices.&nbsp; We may determine that the
appeal is wholly frivolous and issue an opinion explaining that we have
reviewed the record and find no reversible error; Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex.Crim.App. 2005)
(citing Anders, 386 U.S. at 744), or
we may determine that arguable grounds for appeal exist and remand the cause to
the trial court so that new counsel may be appointed to brief issues.&nbsp; Id.
(citing Stafford v. State, 813 S.W.2d
503, 510 (Tex.Crim.App. 1991)). However, "[o]nly after the issues have
been briefed by new counsel may a court of appeals address the merits of the
issues."&nbsp; 178
S.W.3d at 827. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have reviewed counsel's arguments
and we have independently examined the entire record to determine whether there
are any non-frivolous issues which might support the appeal.&nbsp; See
Penson v. Ohio, 488 U.S. 75, 80, 109 S.Ct. 346, 102 S.Ct. 346, 102 L.Ed.2d
300 (1988); In re Schulman, 252
S.W.3d at 409; Stafford v. State, 813
S.W.2d 503, 511 (Tex.Crim.App. 1991).&nbsp; We
have found no such issues.&nbsp; See Gainous v. State, 436
S.W.2d 137, 138 (Tex.Crim.App. 1969).&nbsp;
After reviewing the record, counsel's brief and Appellant's pro se response, we find nothing in the
record that might arguably support the appeal.&nbsp;
See Bledsoe,
178 S.W.3d at 826-27 (holding that it is constitutional error for an appellate
court to address nonmeritorious arguments raised in a pro se response to an Anders
brief).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, counsel's motion to
withdraw is granted and the trial court's judgments are affirmed.&nbsp;&nbsp;&nbsp; &nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Patrick A. Pirtle

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice&nbsp; 

Do not publish.











[1]See Indictments
for Causes Nos. 58,786-A and 58,787-A.&nbsp; See also Tex. Penal Code Ann. §§ 22.021(a)(2)(B), 21.11(a)(1), 12.42(c)(2) (Vernon Supp. 2009),
respectively.&nbsp; &nbsp;&nbsp;





[2]Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).





[3]Notwithstanding that Appellant was
informed of his right to file a pro se petition
for discretionary review upon execution of the Trial Court's Certification of Defendant's Right of Appeal, counsel
must comply with Rule 48.4 of the Texas Rules of Appellate Procedure which
provides that counsel shall within five days after this opinion is handed down,
send Appellant a copy of the opinion and judgment together with notification of
his right to file a pro se petition
for discretionary review.&nbsp; Tex. R. App.
P. 48.4.&nbsp; See In re Schulman, 252
S.W.2d at 408 n.22 &amp; 411 n.35.





[4]By his pro
se response, Appellant raised two issues.&nbsp;
He questions (1) whether the trial court should have conducted an
investigation into an alleged conflict of interest between the prosecutor and
defense counsel and (2) whether defense counsel should have filed certain
motions.&nbsp; Appellant's "third
issue" is in actuality a single-sentence conclusion, i.e., that, but for
counsel's unprofessional conduct and deficient performance, the outcome of his
trial would have been different.&nbsp; 







